                                      CASE 0:20-cr-00232-JRT-BRT Doc. 235 Filed 11/05/20 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                      )           COURTROOM MINUTES - CRIMINAL
                                                               )             BEFORE: BECKY R. THORSON
                                          Plaintiff,           )                 U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:             20-cr-232 JRT/KMM
                                                               )    Date:                November 5, 2020
Bryant Jarode Critten (13),                                    )                         Video Conference
                                                               )    Time Commenced:       11:01 a.m.
                                          Defendant,           )    Time Concluded:       11:11 a.m.
                                                                    Time in Court:        10 minutes




APPEARANCES:
   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Jill Brisbois,
                   X Retained

   Date Charges Filed:                    10/20/2020   Offense: Conspiracy to commit mail fraud

                 X Waived Reading of Charges                 X Advised of Rights

on            X Indictment


Released on conditions set forth in the Middle District of Florida.


X Defendant also arraigned at this hearing, see separate arraignment minutes.


Additional Information:

X Defendant consents to this hearing via video conference.


                                                                                                    s/ACH
                                                                                                  Signature of Courtroom Deputy




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